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12 Social Finance, Inc. d/b/a SoFi and
     SoFi Lending Corp. d/b/a SoFi
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14
                                   UNITED STATES DISTRICT COURT
15
                                  NORTHERN DISTRICT OF CALIFORNIA
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     RUBEN JUAREZ, CALIN CONSTANTIN               CASE NO: 4:20-cv-03386-HSG
18 SEGARCEANU, EMILIANO GALICIA, and
     JOSUE JIMENEZ, on behalf of all others       NOTICE OF APPEARANCE OF
19 similarly situated,                            ANTHONY Q. LE AS COUNSEL FOR
                                                  DEFENDANTS SOCIAL FINANCE, INC.
20                                                d/b/a SOFI AND SOFI LENDING CORP.
                    Plaintiffs,
21                                                d/b/a SOFI
     vs.
22                                                Complaint Filed: May 19, 2020
     SOCIAL FINANCE, INC. d/b/a SOFI, and         First Amended Complaint Filed: July 30, 2020
23 SOFI LENDING CORP. d/b/a SOFI,                 Second Amended Complaint Filed: May 3, 2021
24                                                Honorable Haywood S Gilliam, Jr.
                    Defendants.
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26
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28
       NOTICE OF APPEARANCE OF ANTHONY Q. LE AS COUNSEL FOR DEFENDANTS SOCIAL FINANCE,
                          INC. d/b/a SOFI and SOFI LENDING CORP. d/b/a SOFI
        Case 4:20-cv-03386-HSG Document 79 Filed 09/24/21 Page 2 of 3




 1 TO THE COURT, AND TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
 2          PLEASE TAKE NOTICE that Anthony Q. Le of MCGUIREWOODS LLP hereby enters

 3 his appearance as an attorney of record for Defendants Social Finance, Inc. d/b/a SoFi and
 4 SoFi Lending Corp. d/b/a SoFi.
 5
 6 DATED: September 24, 2021                      MCGUIREWOODS LLP

 7
 8                                           By: /s/ Anthony Q. Le
                                                 Anthony Q. Le
 9
                                                 Attorneys for Defendants
10                                               Social Finance, Inc. d/b/a SoFi and
                                                 SoFi Lending Corp. d/b/a SoFi
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      NOTICE OF APPEARANCE OF ANTHONY Q. LE AS COUNSEL FOR DEFENDANTS SOCIAL FINANCE,
                        INC. d/b/a SOFI AND SOFI LENDING CORP. d/b/a SOFI
       Case 4:20-cv-03386-HSG Document 79 Filed 09/24/21 Page 3 of 3




 1                                 CERTIFICATE OF SERVICE

 2         I hereby certify that on September 24, 2021, a copy of foregoing NOTICE OF

 3 APPEARANCE OF ANTHONY Q. LE AS COUNSEL FOR DEFENDANTS SOCIAL
 4 FINANCE, INC. d/b/a SOFI and SOFI LENDING CORP. d/b/a SOFI was filed electronically.
 5 Notice of this filing will be sent by operation of the Court’s electronic filing system to all
 6 parties indicated on the Notice of Electronic Filing.
 7
 8   Dated: September 24, 2021                 By: /s/ Anthony Q. Le
                                                    Anthony Q. Le
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      NOTICE OF APPEARANCE OF ANTHONY Q. LE AS COUNSEL FOR DEFENDANTS SOCIAL FINANCE,
                        INC. d/b/a SOFI AND SOFI LENDING CORP. d/b/a SOFI
